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                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                         MDL No. 2741
   LIABILITY LITIGATION
                                                   Case No. 16-md-02741-VC


   This document relates to:                       ORDER TO SHOW CAUSE RE
                                                   PRETRIAL ORDER NO. 240
   Moreland v. Monsanto Co.,
   Case No. 3:20-cv-03069-VC



       Special Master Ken Feinberg recently informed the Court that the plaintiff in the above

captioned case has failed to comply with Pretrial Order No. 240. See Dkt. No. 13323. The

plaintiff is ordered to show cause why the case should not be dismissed for failure to comply

with Pretrial Order No. 240. A written response to the order to show cause is due Friday, March

28, 2025 at 3:00 p.m.

       IT IS SO ORDERED.

Dated: March 26, 2025
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
